Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 1 of 16 PageID #: 1671




                              UNITED STATES DISTRICT COURT
                              EASTERN DISTRICT OF MISSOURI
                                    EASTERN DIVISION

 Derrick Jones et al.

      PLAINTIFFS,
                                                        Cause No. 4:21-cv-600-HEA
 v.

 City of St. Louis, et al.,

      DEFENDANTS.

      DEFENDANTS’ RESPONSE IN OPPOSITION TO PLAINTIFF’S MOTION FOR
                         CLASS CERTIFICATION

        COMES NOW Defendants City of St. Louis, Fowlkes, Turner, Alexander, and Borders

(“Defendants”), by and through their attorney, Assistant City Counselor Adriano Martinez, and

for Defendants’ Response to Plaintiffs’’ Motion for Class Certification states as follows:

                                         INTRODUCTION

        On May 24, 2021 plaintiffs Jerome Jones, Derrick Jones, and Darnell Rusan filed a

complaint against the City of St. Louis and a number of City of St. Louis Corrections employees

for alleged violations of plaintiffs’ civil rights. Over the course of a year, plaintiffs have

amended their compliant twice. Defendants have provided significant discovery. Plaintiffs’

second amended complaint moved to include a fourth plaintiff, Marrell Withers, five new counts,

including the addition of three class related counts. On March 15, 2022, plaintiffs filed a motion

to certify a class in relation to their Second Amended Complaint. (Doc. 71). Plaintiffs Derrick

Jones, Darnell Rusan, and Marrell Withers ask this Court to certify them as class representatives

in this action. The three class counts seek injunctive relief requesting an order against the City

prohibiting the unconstitutional use of chemical agents, prohibiting the unconstitutional use of



                                                   1
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 2 of 16 PageID #: 1672




chemical agents against detainees with disabilities absent of a reasonable accommodation, and

prohibiting the unconstitutional practice of water shut-offs as punishment going forward. (Doc

105 after ¶192, ¶208, and ¶230).

       The Court should deny Plaintiffs’ motion for class certification because Plaintiffs cannot

satisfy the requirements for certification under Rule 23(a)(2-4), Plaintiffs proposed class and

subclass fails to satisfy all applicable Rule 23(b) requirements, and Plaintiffs lack standing.

Plaintiffs’ motion for class certification should be denied in its entirety.

                                       LEGAL STANDARD

       A class action is “an exception to the usual rule that litigation is conducted by and on

behalf of the individual named parties only.” Califano v. Yamasaki, 442 U.S. 682, 700- 701

(1979). Class certification is governed by Federal Rule of Civil Procedure 23. Wal-Mart Stores,

Inc. v. Dukes, 564 U.S. 338, 345, 131 S. Ct. 2541, 2548 (2011). Under Rule 23(a), the party

seeking certification must demonstrate, first, that “(1) the class is so numerous that joinder of all

members is impracticable; (2) there are questions of law or fact common to the class; (3) the

claims or defenses of the representative parties are typical of the claims or defenses of the class;

and (4) the representative parties will fairly and adequately protect the interests of the class."

Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 345, 131 S. Ct. 2541, 2548 (2011). "To be

certified as a class, plaintiffs must meet all of the requirements of Rule 23(a) and must satisfy

one of the three subsections of Rule 23(b).” Postawko v. Mo. Dep't of Corr., 910 F.3d 1030,

1036 (8th Cir. 2018) (quoting In re St. Jude Med., Inc., 425 F.3d 1116, 1119 (8th Cir. 2005)

       The proponent of class certification must also "satisfy through evidentiary proof at least

one of the provisions of Rule 23(b)." Id. In cases such as this, where certification is sought under

Rule 23(b)(2), the proponent of certification must show a level of class cohesiveness "more



                                                   2
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 3 of 16 PageID #: 1673




stringent than the predominance and superiority requirements for maintaining a class action

under Rule 23(b)(3)." Ebert v. General Mills, Inc., 823 F.3d 472, 480 (8th Cir. 2016). This is

"[b]ecause a (b)(2) class is mandatory, [and] the rule provides no opportunity for (b)(2) class

members to opt out, and does not oblige the district court to afford them notice of the action." Id.

                                          ARGUMENT

I. PLAINTIFFS FAIL TO SATISFY THE COMMONALITY, TYPICALITY, AND
ADEQUACY REQUIREMENTS OF RULE 23(a)(2-4).

       A. Commonality

       Members of Plaintiffs’ putative class have different claims and different injuries, all

involving critically different circumstances, and all of which necessitate separate, individualized

inquiries and adjudication. Thus, like in the seminal Supreme Court case of Wal-Mart Stores,

Inc. v. Dukes, Plaintiffs cannot possibly satisfy the commonality, typicality, and adequacy

requirements of Rule 23(a)(2-4).

       In Wal-Mart, several current and former female employees of Wal-Mart alleged they had

been discriminated against in violation of Title VII of the Civil Rights Act of 1964 with respect

to pay and promotion decisions. Wal-Mart, 564 U.S at 342. The specific circumstances

surrounding each woman’s employment differed somewhat, but they all generally alleged that

Wal-Mart engaged in a pattern and practice of discrimination against women and that, as a result

of this pattern and practice, they were denied advancement and discriminated against in violation

of Title VII. Id. at 344-46. The named plaintiffs did not allege Wal-Mart had any express

corporate policy against the advancement of women, and instead alleged that there was a strong

and uniform corporate culture permitting bias against women, that the uniform corporate culture

resulted in an unlawful disparate impact on female employees, that Wal-Mart was aware of this

effect, and refused to remedy it. Id. at 345. The named plaintiffs claimed that the discrimination

                                                 3
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 4 of 16 PageID #: 1674




resulting from Wal-Mart’s indifference to its pattern and practice was common to all Wal-Mart’s

female employees, and sought to litigate the Title VII claims of all female employees in a single

class action. Id. at 345. In an apparent attempt to avoid the procedural protections and stringent

requirements of Rule 23(b)(3), which they could not possibly meet, the putative class complaint

sought only injunctive and declaratory relief, punitive damages, and backpay, but did not ask for

compensatory damages. Id. at 345.1

           The District Court certified a plaintiff class consisting of “[a]ll women employed at any

Wal-Mart domestic retail store at any time since December 26, 1998 who have been or may be

subjected to Wal-Mart's challenged pay and management track promotions policies and

practices.” Id. at 346. A divided Court of Appeals affirmed class certification, concluding that

the named plaintiffs “evidence of commonality was sufficient to ‘raise the common question

whether Wal-Mart's female employees nationwide were subjected to a single set of corporate

policies (not merely a number of independent discriminatory acts) that may have worked to

unlawfully discriminate against them in violation of Title VII.’” Id. at 347 (quoting Dukes v.

Wal-Mart Stores, Inc., 603 F.3d 571, 612 (9th Cir. 2010)). The Supreme Court reversed.

           In reversing, the Supreme Court held that the commonality requirement of Rule 23(a)(2)

was not satisfied. Id. at 349. The Court noted that of Rule 23(a)(2) which is “easy to misread”

because any competently drafted class complaint raises common questions. Id. The Court held

that the commonality requirement was not met because, although the named Plaintiffs were all

denied advancement in alleged violation of Title VII, the named plaintiffs failed “to demonstrate

that the class members ‘have suffered the same injury.’” Id. at 350 (citing Gen. Tel. Co. of the

Sw. v. Falcon, 457 U.S. 147, 157 (1982)). Critically, the Court held that “suffering the same



1
    Here, Plaintiffs do seek compensatory damages.

                                                     4
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 5 of 16 PageID #: 1675




injury does not mean merely that they have all suffered a violation of the same provision of law.”

Id. at 350. It explained that, “[q]uite obviously, the mere claim by employees of the same

company that they have suffered a Title VII injury, or even a disparate-impact Title VII injury,

gives no cause to believe that all their claims can productively be litigated at once.” Id. Instead,

the commonality prerequisite of Rule 23(a) requires that all of the putative class members’

claims “depend on a common contention,” the nature of which “is capable of a class-wide

resolution – which means that determination of its truth or falsity will resolve an issue that is

central to the validity of each one of the claims in one stroke.” Id. at 350.

       Here, Wal-Mart is dispositive of Plaintiffs’ plea to litigate hundreds of distinct § 1983

cases, involving different claims, critically different circumstances, and different injuries, in one

untenable class action premised only upon Plaintiffs’ vague contention that prospective class

members are “subjected to the violent and systemic use of excessive chemical agents and water

shut-offs” at CJC, to which the proceeding facts vary dramatically. (Doc. 105 at 1). Plaintiffs

generally assert that they and “all people who are now or will be detained by Defendants at the

City Justice Center in St. Louis, Mo. All, of more that 500 people in this class, are subject to two

common customs or practice: a) excessive or indiscriminate use of chemical agents; and b)

punitive deprivation of water. (Doc. 71 at 1). However, this is not the case. Plaintiffs make

sweeping, conclusionary statements that every detainee of CJC is exposed to mace or has their

water turned off for absolutely no reason. This is not true. Plaintiffs provided thirty-eight

declarations, each with a different set of facts and actors. The declarations include stories of

officers using mace after they are being attacked, using mace to separate fighting detainees, or

using mace after detainees are deliberately destroying property or causing flooding. As evident

by Plaintiffs’ own declarations, each use of mace or each time water is turned off in a cell has a



                                                  5
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 6 of 16 PageID #: 1676




significant factual basis that must be explored independently and would be impossible to resolve

with a class wide resolution, as required by the Court’s decision in Wal-Mart.

        “Liability for damages for a federal constitutional tort is personal, so each defendant’s

conduct must be independently assessed.” Faulk v. Leyshock, et al, 21-1116, April 6, 2021 (8th

Cir. 2021)(citing Wilson v. Northcutt, 441 F.3d 586, 591 (8th Cir. 2006) and Roberts v. City of

Omaha, 723 F.3d 966, 974-75 (8th Cir. 2013)). Additionally, claims of unconstitutionally

excessive force and unconstitutional conditions of confinement against individual defendants

require an exacting, thorough and fact-specific inquiry. Such need for an independent assessment

of each defendant’s conduct, along with the need for individualized proof dictated by the

pertinent constitutional standards, shows that Plaintiffs’ proposed class is untenable and allowing

such class will prejudice the individual defendants. A claim of excessive force by pretrial

detainees under the Fourteenth Amendment is governed by the same standard governing

excessive force claims under the Fourth Amendment. Kingsley v. Hendrickson, 576 U.S. 389

(2015). The analysis employed by the court looks at whether the force used by an officer is

unreasonable under the unique circumstances presented:

       “A court must make this determination from the perspective of a reasonable officer on the
       scene, including what the officer knew at the time, not with the 20/20 vision of hindsight.
       . . A court must also account for the ‘legitimate interests that stem from [the
       government’s] need to manage the facility in which the individual is detained,’
       appropriately deferring to ‘policies and practices that in th[e] judgment’ of jail officials
       ‘are needed to preserve internal order and discipline and to maintain institutional
       security.’” Id at 397, quoting Bell v. Wolfish, 441 U.S. 520, 540, 547, 99 S. Ct. 1861, 60
       L. Ed. 2d 447 (1979).

       The excessive force inquiry is particularly fact intensive:

       Considerations such as the following may bear on the reasonableness or
       unreasonableness of the force used: the relationship between the need for the use of force
       and the amount of force used; the extent of the plaintiff’s injury; any effort made by the
       officer to temper or to limit the amount of force; the severity of the security problem at
       issue; the threat reasonably perceived by the officer; and whether the plaintiff was

                                                 6
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 7 of 16 PageID #: 1677




       actively resisting. We do not consider this list to be exclusive. We mention these factors
       only to illustrate the types of objective circumstances potentially relevant to a
       determination of excessive force. Kingsley v. Hendrickson, 576 U.S. 389, 397
       (2015)(citing Graham v. Connor, 490 U.S. 386, 396 (1989)).

       Each and every one of Plaintiffs’ claims must be analyzed under this standard.

Additionally, each and every one of Plaintiffs’ putative class member’s experience of alleged

excessive force must be analyzed under this standard (making this case particularly unsuitable

for a class action). A review of relevant cases involving the use of pepper spray in a correctional

facility reveals the sort of fact-intensive review that must be undergone in determining the

constitutionality of the use of force as well as the question of whether an officer is entitled to

qualified immunity. See e.g., Martz v. Barnes, 787 Fed. Appx. 356 (8th Cir. 2019); Ward v.

Smith, #15-2583, 844 F.3d 717 (8th Cir. 2016); Burns v. Eaton, 752 F.3d 1136 (8th Cir. 2014);

Santiago v. Blair, 707 F.3d 984 (8th Cir. 2013); Johnson v. Blaukat, 453 F.3d 1108 (8th Cir.

2006); Henderson v. Munn, 439 F.3d 497 (8th Cir. 2006); Treats v. Morgan, 308 F.3d 868 (8th

Cir. 2002); Lawrence v. Bowersox, 297 F.3d 727 (8th Cir. 2002); Foulk v. Charrier, 262 F.3d

687 (8th Cir. 2001) ; Jones v. Shields, 207 F.3d 491 (8th Cir. 2000); Williams v. Benjamin, 77

F.3d 756 (4th Cir. 1996). As the constitutional standard for excessive force against a pretrial

detainee requires the most exacting, specific and individualized inquiry, and the Monell claims

depend on the existence of an underlying constitutional inquiry, Plaintiffs’ claims for class-wide

relief on excessive force claims are unsuitable for class-wide relief.

       The claims regarding water deprivation also require individualized proof. Because

pretrial detainees are entitled to at least as great protection as that afforded convicted prisoners

under the Eighth Amendment, Pietrafeso v. Lawrence County, 452 F.3d 978, 982 (8th Cir.

2006); Crow v. Montgomery, 403 F.3d 598, 601 (8th Cir. 2005)(citations omitted), the relevant

constitutional standard on the water deprivation claims is deliberate indifference, specifically

                                                  7
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 8 of 16 PageID #: 1678




whether (1) the conditions of confinement posed a substantial risk of serious harm, and (2) the

defendants actually knew of but disregarded, or were deliberately indifferent to, the plaintiffs’

health or safety.” Beaulieu v. Ludeman, 690 F.3d 1017, 1045 (8th Cir. 2012)(internal citations

omitted). “To define deliberate indifference for these purposes, the Supreme Court has adopted

the criminal law subjective standard of recklessness - the official must both be aware of facts

from which the inference could be drawn that a substantial risk of serious harm exists, and he

must also draw the inference.” Moore v. Briggs, 381 F.3d 771, 773-74 (8th Cir. 2004), quoting

Farmer v. Brennan, 511 U.S. 825, 837. Additionally, in such claims, the totality of the

circumstances is examined when analyzing the conditions of confinement. Morris v. Zefferi, 601

F.3d 805, 810 (8th Cir. 2012)(citation omitted).

       Like the claims regarding excessive force, Plaintiffs’ claims regarding water shut-offs are

subject to a highly individualized inquiry. Such individualized inquiry is even more fact

intensive because it involves a subjective component: the individually named corrections officer

defendants must have possessed a specific intent to deprive Plaintiffs of water, knowing that this

presented a grave risk to their health and safety. Plaintiffs’ class-wide claims for relief from

supposed unconstitutional water deprivations requires establishing an unconstitutional condition

of confinement in the form of water deprivation requires individualized proof. The need for such

individualized proof on each and every claim of water deprivation is incongruous with the

requirements of Rule 23 governing actions for class-wide relief. The need for individualized

proof additionally cuts against any argument that the claims as alleged in the proposed Second

Amended Complaint are properly joined.

       Claims for excessive force, unconstitutional conditions of confinement in the form of

sporadic water shut-offs, and failure to make a reasonable accommodation under the ADA



                                                   8
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 9 of 16 PageID #: 1679




during a legitimate use of force on an inmate, as alleged in the Second Amended Complaint are

unsuitable for class-action adjudication and cannot satisfy the threshold requirements of Rule 23.

Defendants again refer the Court to Judge Fleissig’s opinion on the challenging issue the

requirements of commonality (23(a)(2)) and predominance (23(b)(3)) in a similar context. Judge

Fleissig writes that inquiries into these issues consider “‘whether the common, aggregation-

enabling, issues in the case are more prevalent or important than the non-common, aggregation-

defeating, individual issues. An individual question is one where members of a proposed class

will need to present evidence that varies from member to member, while a common question is

one where the same evidence will suffice for each member to make a prima facie showing or the

issue is susceptible to generalized, class-wide proof.” Cody, No. 4:17-CV-2707 AGF, 2021 U.S.

Dist. LEXIS 195674, at *(citing Tyson Foods, Inc. v. Bouaphakeo, 577 U.S. 442, 453, 136 S. Ct.

1036, 194 L. Ed. 2d 124 (2016) (quoting 2 W. Rubenstein, Newberg on Class Actions § 4:49, pp.

195-96 (5th ed. 2012)); Johannessohn v. Polaris Indus. Inc., 9 F.4th 981, 984-85 (8th Cir. 2021)

(internal quotation marks omitted). The standard for constitutionally excessive force and

deliberate indifference make clear that in the contexts framed by Plaintiffs’ allegations,

individual questions are more prevalent than common issues. One need only compare and

contrast the allegations of Derrick Jones, Darnell Rusan and Marrell Withers to see the obvious

diversity of circumstances presented by each and every plaintiff and putative class member’s

experiences. Such diversity of circumstances subject to the individualized review Defendants are

entitled to shows that the putative class allegations cannot satisfy the commonality requirement

of Rule 23

       B.      Typicality




                                                 9
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 10 of 16 PageID #: 1680




        In order to be certified, Plaintiffs must show that "the claims or defenses of the

representative parties are typical of the claims or defenses of the class." Fed. R. Civ. Pro.

23(a)(3). "The commonality and typicality requirements of Rule 23(a) tend to merge. Both serve

as guideposts for determining whether under the particular circumstances maintenance of a class

action is economical and whether the named plaintiff's claim and the class claims are so

interrelated that the interests of the class members will be fairly and adequately protected in their

absence." Falcon, 457 U.S. at 157 n.13.

        Plaintiffs in this case cannot show that any of their claims or defenses are typical of each

other or members of the proposed class, and they have failed to identify a single question that is

common to all four named Plaintiffs. Plaintiffs state that they satisfy typicality by, “the named

Plaintiffs, like all members of the proposed class, are incarcerated at CJC. The named Plaintiffs,

like all members of the proposed class, are subject to Defendants same pattern and practice of

using excessive force through deployment of chemical agents without sufficient warning or

justification and punitive water shut-offs.” (Doc 72-1 at 15). Plaintiffs’ complaint alleges that

mace was used on the three proposed class members, however they casually omit the facts and

circumstances surrounding the mace. Plaintiffs would have the Court believe that they were

maced without provocation or warning and not afforded access to water, however, the video

evidence collected, showing three of the four incidents alleged by Plaintiffs, show completely

different stories.

        To determine whether common questions predominate, a court must conduct a limited

preliminary inquiry, looking behind the pleadings. Blades v. Monsanto Co., 400 F.3d 562, 566

(8th Cir. 2005) General Tel. Co. of Southwest v. Falcon, 457 U.S. 147, 160, 72 L. Ed. 2d 740,

102 S. Ct. 2364 (1982). Defendants have participated in significant discovery prior to Plaintiffs’



                                                 10
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 11 of 16 PageID #: 1681




filing their Motion for Class Certification. Defendants provided a surveillance video showing the

alleged incident on December 14, 2020 involving Derrick Jones. Derrick Jones was instructed to

return to his cell multiple times, crossed behind the correctional officer’s podium in a restricted

area, and correctional officers attempted to negotiate with Derrick Jones for multiple minutes to

have him return to his cell. In that time, the entire housing unit was “locked down” while

correctional officers attempted to resolve Mr. Jones’ refusal to follow directives in the maximum

security facility. Seven additional correctional officers can be seen in the video, responded to

assist, and only after that time did a correctional officer finally resort to the minimum use of

force of deploying mace. Immediately after Derrick Jones was maced he attacked Sherry

Richards, punching her in the head and taking her to the ground. (Exhibit A). It was Mr. Jones’

attack that necessitated additional uses of mace and officers attempt to physically retrain Mr.

Jones. After Mr. Jones is restrained he is taken to medical to be evaluated.

       Similarly, Defendants provided video surveillance of Darnell Rusan’s assault of Aisha

Turner and Michelle Lewis. Darnell Rusan was out of his cell when he was not permitted to be

out of his cell, on video it is clearly audible that he was instructed to lock down approximately

nine times, and only after threatening Lt. Turner was mace used. After mace was initially used,

Mr. Rusan used multiple chairs to strike Lt. Turner and CO Lewis and then savagely beat CO

Lewis. (Exhibit B). Plaintiffs have amended their complaint to completely omit these facts and

dismiss CO Lewis as a defendant after being provided definitive proof that their initial complaint

was factually incorrect. Darnell Rusan is currently awaiting trial in relation to his assault on Lt.

Turner and CO Lewis. Cause No. 2122-CR00762-01 (22nd Cir. Mo.).

       The facts and evidence show that Marrell Wither’s claim are also not typical of the

proposed class claims. Plaintiffs allege that Mr. Withers was simply protesting being moved to a



                                                 11
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 12 of 16 PageID #: 1682




unit for individuals who had either tested positive for Covid-19 or were showing symptoms of

the virus and because of his protest he was maced. That is again inconsistent with the video

evidence provided to the Plaintiffs. The video shows Mr. Withers threatening to destroy property

and yelling at corrections officers. The surveillance video also clearly refutes that Mr. Withers

“begged them not to mace him,” as stated in Plaintiffs’ Complaint. (Doc. 105 ¶68). Instead, Mr.

Withers clearly states that he is not going anywhere and that officers will have to “spray him.”

After the first spray has little to no effect, Mr. Withers can be clearly heard saying, “spray it

again, I ain’t going nowhere.” (Exhibit C). After Mr. Withers is sprayed a second time he is

escorted to medical and is promptly seen by medical staff. The evidence clearly refutes Plaintiffs

contention that their experiences are typical of Plaintiffs’ class claims. Instead, the evidence

supports that each incident requires its own fact intensive inquiry. Therefore, Plaintiffs fail to

show that their claims are typical of their proposed class claim.

       C.      Adequacy

       Adequacy of representation also cannot be satisfied due to the uniqueness of each

individual claim of excessive force alleged by the putative class representatives: Marrell Withers,

Darnell Rusan and Derrick Jones. Each one of these individuals alleges he experienced a use of

force and/or water shut-off which must be subject to an exacting, individualized, and

circumstantial constitutional review. Two of these putative class representatives struck female

corrections officers in the course of the alleged unconstitutional use of force, and one is being

criminally prosecuted for his conduct during the allegedly unconstitutional use of force. See Ex.

A, Ex. B., Cause no. 2122-CR00762-01 (22nd Cir. Mo.). Defendants anticipate that this pending

criminal proceeding will complicate discovery surrounding Darnell Rusan’s claims, and it is

apparent that both his and Derrick Jones’ claims of constitutional violation will be extremely



                                                  12
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 13 of 16 PageID #: 1683




difficult to prove. Additionally, Plaintiffs have already invoked their Fifth Amendment right

against self-incrimination in Defendants’ First Set of Interrogatories. (See Exhibit D). Plaintiffs’

refusal to answer basic questions, relevant to their time at CJC and the allegations that they have

made, have impaired Defendants ability to defend themselves. These individuals are not

adequate representatives for a class action, as they cannot fairly and adequately protect the

interests of the class. Rule 23(a)(4); see also Amchem Prods. v. Windsor, 521 U.S. 591, 613

(1997). Plaintiffs will protect their interest in their criminal cases over the interests of the

proposed class.

II. PLAINTIFFS’ PROPOSED CLASS AND SUBCLASS FAILS TO SATISFY ALL

APPLICABLE RULE 23(b) REQUIREMENTS.

        A. Plaintiffs’ fail to satisfy Rule 23(b)(1)(a)

        Rule 23(b)(1)(A) states, “A class action may be maintained if Rule 23(a) is satisfied and

if: (1) prosecuting separate actions by or against individual class members would create a risk of:

(A) inconsistent or varying adjudications with respect to individual class members that would

establish incompatible standards of conduct for the party opposing the class.” Fed. R. Civ. P.

23(b)(1)(A). Plaintiffs fail to show any reason how adjudicating individual claims would create

incompatible standards of conduct on Defendant. Instead, they make a conclusionary statement

that, “litigating the class members’ claims individually would present a risk of varying outcomes

in what standards of conduct should apply when deploying chemical agents against detainees at

CJC…” (Doc. 72-1 at 23).

        Plaintiffs have provided no evidence that this Court can rely upon to support their

statement. In fact, evidence provided to this Court by Defendants show that each and every

circumstance alleged by Plaintiffs is factually different from their co-plaintiffs and are atypical



                                                   13
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 14 of 16 PageID #: 1684




of their proposed class members. It would be impossible that “determination of its truth or falsity

will resolve an issue that is central to the validity of each one of the claims in one stroke” as

required by the Court in Wal-Mart. Wal-Mart, 564 U.S at 350.

        B. Plaintiffs' class is insufficiently cohesive to be certified under Rule 23(b)(2).

        Plaintiffs fail to show, “Defendants acted or refused to act on grounds that apply

generally to the class, so that final injunctive relief or corresponding declaratory relief is

appropriate respecting the class as a whole.” Fed. R. Civ. P. 23(b)(2). Instead, Plaintiffs make

conclusionary statements that Defendants use excessive mace and water shut-offs without

anything to support their claims. Plaintiffs have been provided fourteen videos related to their

named Plaintiffs but clearly they do not wish to show the Court that the evidence clearly supports

a different story than their complaint.

        "Although a Rule 23(b)(2) class need not meet the additional predominance and

superiority requirements of Rule 23(b)(3), 'it is well established that the class claims must be

cohesive.'" Ebert, 823 F.3d at 480 (quoting Barnes v. Am. Tobacco Co., 161 F.3d 127, 143 (3d

Cir. 1998)). "In fact, cohesiveness is the touchstone of a (b)(2) class, as a (b)(2) class 'share[s]

the most traditional justification[] for class treatment,' in that the 'relief sought must perforce

affect the entire class at once.'" Id. (quoting Dukes, 564 U.S. at 361-62 (alterations and emphasis

added by Ebert). Accordingly, "Rule 23(b)(2) applies only when a single injunction or

declaratory judgment would provide relief to each member of the class. It does not authorize

class certification when each individual class member would be entitled to a different injunction

or declaratory judgment against the defendant." Dukes, 564 U.S. at 361. Each and every member

of the proposed class should be required to adjudicate the individual facts and circumstances

surrounding their claims seperately.



                                                  14
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 15 of 16 PageID #: 1685




III.   THE CLAIMS FOR CLASS-WIDE RELIEF LACK STANDING.

       The class-action claims seek prospective relief in the form of injunctions prohibiting

unconstitutional conduct and requiring, pursuant to the Americans with Disabilities Act, that the

jail make reasonable accommodations for inmates struggling with respiratory conditions who

would otherwise be subject to the reasonable use of pepper spray. Plaintiffs cannot establish

standing for prospective relief in that this would require them to show that they are likely to be

pepper sprayed under the same circumstances in the future.

       Judge Fleissig recently addressed the issue of standing in a putative class action claim

seeking injunctive relief regarding the conditions of confinement at St. Louis’ Medium Security

Institution. In finding that the plaintiffs did not satisfy the requirement of standing, Judge

Fleissig articulated the following:

       The Supreme Court has made clear that “[p]ast exposure to illegal conduct does not in

itself show a present case or controversy regarding injunctive relief . . . if unaccompanied by any

continuing, present adverse effects." O'Shea v. Littleton, 414 U.S. 488, 495-96, 94 S. Ct. 669, 38

L. Ed. 2d 674 (1974). In O'Shea, like here, the named plaintiffs in a putative class action

claiming illegal bond-setting and sentencing practices claimed imminent injury for standing

purposes based on the likelihood that they would “again be arrested for and charged with

violations of the criminal law and will again be subjected to bond proceedings, trial, or

sentencing.” Id. at 496. In other words, the named plaintiffs proposed that “that if [they] proceed

to violate an unchallenged law and if they are charged, held to answer, and tried in any

proceedings before petitioners, they will be subjected to the discriminatory practices that

petitioners are alleged to have followed.” Id. at 497. The Supreme Court rejected that

proposition, holding that “attempting to anticipate whether and when these respondents will be



                                                  15
Case: 4:21-cv-00600-HEA Doc. #: 121 Filed: 06/03/22 Page: 16 of 16 PageID #: 1686




charged with crime and will be made to appear before either petitioner takes us into the area of

speculation and conjecture.” Id. at 488. Cody v. City of St. Louis, No. 4:17-CV-2707 AGF, 2021

U.S. Dist. LEXIS 195674, at *10-11 (E.D. Mo. Oct. 12, 2021).

       Pertinent to this case, any attempt to anticipate whether the named Plaintiffs and putative

class members will be subject to not just the use of pepper spray or the shutting off of their

water, but the use of pepper spray amounting to unconstitutionally excessive force and the

shutting off of water constituting unlawful conditions of confinement manifested by deliberate

indifference, “takes us into the area of speculation and conjecture.” Id.

                                         CONCLUSION

       For all the foregoing reasons, the Court should deny Plaintiffs’ Motion for Class

Certification, and grant Defendant any such other and further relief the Court deems fair and

appropriate.

                                                                             Respectfully submitted,
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                                                 16
